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PETITIONER'S SUPCLEMVENTAC APPENDIX

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UNNOTARIZED OATH
Under penalties of perjury, I declare that I have read the foregoing motion
and the facts stated in it are true.

Executed this +n _ day of _Syognfime Do ce

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IN THE CIRCUIT COURT, FIFTH oy
JUDICIAL CIRCUIT, IN AND FOR
LAKE COUNTY, FLORIDA
CASE NO.: 2011-CF-000105
STATE OF FLORIDA,
Plaintiff, oe
vs. “ >
DONALD OTIS WILLIAMS, | “
Defendant.
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TRANSCRIPT ON APPEAL SNMca #16
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HELD BEFORE: The Honorable Mark A. Nacke
DATE TAKEN: August 2, 2013
TIME: 10:02 A.M. - 10:44 A.M.
PLACE: Lake County Judicial Center
550 West Main Street
Tavares, Florida 32778
This cause came on to be heard at the time and place
aforesaid, when and where the following proceedings were
reported by:
_ Cheryl McDonough, RPR, FPR
Kerr & Associates
614 North Sinclair Avenue
Tavares, Florida 32778
. (352) 742-3144
KERR & ASSOCIATES, INC. BA
1-800-246-1753 .

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APPEARANCE 8S:

WILLIAM M. GROSS, ESQUIRE

OF: Office of the State Attorney
550 West Main Street
Tavares, Florida 32778
Ps 352-742-4236

APPEARING ON BEHALF OF THE STATE

DONALD OTIS WILLIAMS, PRO SE

KERR & ASSOCIATES, INC. . _..

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is another example of a baseless motion.

There has been no lying to the Defendant. There may
have been some disagreement, but no lying. There is no
conflict. There never has been a conflict. It's
intriguing to me that when the Defendant is asking you to
find that they were ineffective, he never mentions
anything about any dispute about mitigation, it only
comes up now. That was never brought up. And he says
that was the at the point or it was at that point that
the relationship went downhill, he just told us, and yet
it never came up. It was always about this other
allegation about the insanity defense. So I think this
is another example, like the Fifth District Court of
Appeals has found of a frivolous, nonsensical, baseless
motions wasting the Court's time once again today.

MR. WILLIAMS: Your Honor, may I say one final word?

THE COURT: Yes, Sir.

MR. WILLIAMS: The one other, the proceeding that we
had before this, Mr. Gross mentioned the Fifth District
Court of Appeal-case-that was ruled frivolous on_me—and____ |}.
in passing I told-him that the Federal Court didn‘t-see-- -
it that way. I filed in the Federal Court a federal
habeas corpus in 2004. That Fifth District Court of
Appeal was a petition for writ of mandamus to try to save

the medical records at the jail so I could get them. I

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l asked Judge Semento to give me the records and he would

2 not do it, so I had to go to the Fifth District Court of
3 Appeal and I asked him and then I told him I wanted to

4 withdraw the petition and just tell them that they could
5 file a letter to them, they didn't have to go through the
6 formal writ to do this.

7 Well, then, therefore it went to the order to show

8 cause and then I just went ahead and let it all out and

9 told them the whole basis about that 2000 case there.
10 When they found that that was a frivolous motion or
11 frivolous pleading, I spent 60 days in a box, 364 days of
12 my gain time was taken out. I got some of my teeth
13 kicked out in the box. But while this was going, was
14 ticking around, federal habeas, the federal habeas corpus
15 was granted and I went down to Marion County in front of
16 Judge, Magistrate, Judge Gary.R. Jones and Senior Judge
17 William Terrell Hodges was presiding over this case.
18 Also I almost had that case won but I could not bring
19 enough witnesses to the Court to persuade the Court to
20 see what the truth actually was actually, but as far as— ~
21 the Fifth District Court of Appeal ruling my motion
22 frivolous, it was not, because in that ruling that the

23 Federal Court dissented on that case that I had showed

24 . otherwise.

25 THE COURT: All right. I do not find that there is a

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doi: 10.1212AWNI0b013e3181c2933f

DIRECTED AGGRESSIVE BEHAVIOR IN FRONTAL LOBE EPILEPSY: A VIDEO-EEG
AND ICTAL SPECT CASE STUDY

Jerry J. Shih, MD, Thabele LestieMazwi, MD, Germano Falcao, MD, and Jay Van Gemen, MD

From the Department of Neurology (J.J.S., G.F,, J.V.), Mayo Clinic, Jacksonvile, FL; and the Department of Neurology (T.L.), Partners Healthcare
WAC7, Massachusetts General Hospital, Boston, MA.

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Frontal lobe seizures may manifest bizarre behaviors such as thrashing, kicking, genital manipulation, unusual
facial expressions, and articulate vocalizations + Aggressive and violent behaviors have also been associated with
epilepsy, especially temporal or frontal lobe seizures 2 However, this behavior is rare in the ictal state. Aggressive
ictal behavior is generally believed to not be goal directed. Interactive behavior with the ability to respond to visual
and verbal stimuli is also rare in complex partial seizures. We report the case ofa patient with seizures manifesting
with interactive directed aggressive behaviors.

Case report. An 18-year-old right handed man was brought in by his mother for a second opinion regarding
possible seizures after being suspended from Junior college for threatening to shoot his teacher and classmates. The
patient had been born prematurely and had a grade 1 periventricular hemorrhage. Motor milestones were delayed
by 4 months, but development was otherwise normal. He had a generalized tonic-clonic seizure at age 9, and
subsequently had complex partial seizures characterized by confusion, hand automatisms, and drawing up of the
legs. These seizures resolved on carbamazepine, which was discontinued after 2 years. At age 15, the patient
started having stereotyped episodes characterized by a feeling of “stage fright” and followed by verbal profanities
and using his hand as a stylized gun to “shoot” people and objects. The patient never physically struck another
person or object during the episodes. He was not postictally confused, was aware that he had a behavioral change,
but was amnestic for details of his behavior. He did not respond to trials of zonisamide, carbamazepine, or
topiramate. An outside EEG performed during an episode of coprolalia was interpreted as normal and the patient
was given a diagnosis of Tourette’syndrome (TS). A psychiatrist diagnosed him with obsessive-compulsive
disorder but found no evidence for Psychosis, anxiety, or mood disorder. Events increased to up to 40 events daily
at time of presentation, despite multiple medication trials to treat TS.

Video-EEG monitoring captured 11 seizures in the awake state and 3 seizures during sleep. All seizures were
stereotyped and lasted between 15 and 45 seconds. Three seizures occurred within a 15-minute period in the
presence of the attending and resident physician. During these 3 seizures, the patient partially followed simple
commands and demonstrated comprehension of spoken language (video 1 on the Neurolégy® Web site at
www. neurology.org), and struck a nonthreatening hand held 2 feet from him (video 2).

During uninterrupted seizures, the patient would speak profane language with threatened aggression, using his
hands as stylized guns to track moving people and “shoot” them (video 3). He appeared to alter his actions in
Teaction to external visual and verbal stimuli. Lip smacking automatisms were present in the latter half of the

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seizure, The patient was amnestic for the major portion of his seizures, but could accurately identify the person who
questioned him during the seizure (video 4). EEG analysis found bifrontal 5- to 6-Hz rhythmic activity during
seizures (figure). Ictal SPECT showed areas of hyperperfusion in the right lateral and orbitofrontal cortex. An area

of hyperperfusion is also seen in the left medial frontal lobe.

- Figure Ictal EEG and ictal SPECT results

Carbatrol® was instituted at a daily divided dose of 900 mg. His previous highest daily dose of carbamazepine was
600 mg. The patient is seizure-free at 12 months follow-up.

Discussion. More so than seizures arising from other brain locations, frontal lobe seizures may exhibit bizarre and
unusual behaviors. It is generally agreed among neurologists and epileptologists that well-organized, purposeful,
complex, goal-directed behavior is highly unlikely during a seizure.42 Our patient is an unusual case demonstrating
ictal aggressive behavior with complex motor and vocal features that could be misinterpreted as goal-directed
actions. While up to 30% of frontal lobe epilepsy patients have articulate vocalizations including swearing,* our
patient’s seemingly voluntary actions are likely involuntary, representing complex gestural-hyperkinetic
automatisms and vocalizations. The pathophysiology of this behavior is likely related to activation of circuitry in the
primary somatomotor and premotor cortex by epileptic activity 24 The florid emotional outburst and aggressive
behavior could localize to the prefrontal cortex, considered to be connected with higher psychic functions, as well
as limbic regions involvement. The fact that he is partially amnestic to the ictal events points toward a complex
partial event with possible spread to mesial temporal structures.

This study demonstrates a rare case of directed and interactive aggressive verbal and physical behavior during
frontal lobe seizures. This case highlights the potential for certain frontal lobe seizures to cause behavior with
significant adverse legal ramifications. The diagnosis of seizures should always be considered in cases of episodic
stereotyped behavior.

Supplementary Material ee oe GOOF
_ [Data Supplement]
Notes . . Goto:

Editorial, page 1720
Supplemental data at www. nesralogy.org
e-Pub ahead of print on October 21, 2009, at www.neurology.org.

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Received March 21, 2009. Accepted in final form July 22, 2009. = i °

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Misprescribing and Overprescribing of Drugs

* Seven all-too-often-deadly sins of Prescribing
¢ Evidence of Misprescribing and Overprescribing .
* The Causes of Misprescribing and Overprescribing

The numbers are staggering: in 2003, an estimated 3.4 billion prescriptions were
filled in retail drugstores and by mail order in the United States. That averages out
to 11.7 prescriptions filled for each of the 290 million people in this country. But
many people do not get any prescriptions filled in a given year, so it is also
important to find out how many prescriptions are filled by those who fill one or
more prescriptions. In a study based on data from 2000, more than twice as many
prescriptions were filled for those 65 and older (23.5 prescriptions per year) than
for those younger than 65 (10.1 prescriptions per year).2 Another way of looking
at the high rate of prescriptions among older people is the government finding that
although Medicare beneficiaries comprise only 14% of the community population,
they account for more than 41% of prescription medicine expenses.

There is no dispute that for many people, prescriptions are beneficial, even
lifesaving in many instances. But hundreds of millions of these prescriptions are
wrong, either entirely unnecessary or unnecessarily dangerous. Inappropriate
Prescribing is an academically gentle euphemism for prescriptions for which the
risks outweigh the benefits, thus conferring a negative health impact on the
patient. A recent comprehensive review of studies of such inappropriate
prescribing in older patients found that 21.3% of community-dwelling patients 65
years or older were using at least one drug inappropriately prescribed. Much more
so than age, per se, the total number of drugs being prescribed was an important
predictor of inappropriate prescribing, as was femate gender.* Another study found
that, conservatively—using very narrow criteria for inappropriate prescribing—
elderly United States patients were prescribed at least one inappropriate drug at
an estimated 16.7 million visits to physician offices or hospital outpatient
departments in the year 2000.° Examples of specific drugs that have been
inappropriately prescribed, including studies involving younger adults and children,
are given later in this section.

At the very least, misprescribing wastes tens of billions of dollars, barely oe
affordable by many people who ‘pay for their own prescriptions. But there are

much more serious consequences. As discussed in Adverse Drug Reactions, more

than 1.5 million people are hospitalized and more than 100,000 die each year from

largely preventable adverse reactions to drugs that should not have been

prescribed as they were in the first place.© What follows is a summary of the

seven all-too-often-deadly sins of Prescribing.

First: The “disease” for which a drug is prescribed is actually an adverse
reaction to another drug, masquerading as a disease but unfortunately not
recognized by doctor and patient as such. Instead of lowering the dose of the
offending drug or replacing it with a safer alternative, the physician adds a second
drug to the regimen to “treat” the adverse drug reaction caused by the first drug.
Examples discussed on this web site (see later in this section and in Drug-Induced
Diseases) include drug-induced parkinsonism, depression, sexual dysfunction,
insomnia, psychoses, constipation, and Many other problems.

Second: A drug is used to treat a problem that, although in some cases

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susceptible to a pharmaceutical solution, should first be treated with
commonsense lifestyle changes. Problems such as insomnia and abdominal pain
often have causes that respond very well to nondrug treatment, and often the
physician can uncover these causes by taking a carefut history. Other examples
include medical problems such as high blood pressure, mild adult-onset diabetes,
obesity, anxiety, and situational depression. Doctors should recommend lifestyle
changes as the first approach for these conditions, rather than automatically reach
for the prescription pad.

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Third: The medical problem is both self-limited and completely unresponsive
to treatments such as antibiotics or does not merit treatment with certain
drugs. This is seen most clearly with viral infections such as colds and bronchitis
in otherwise healthy children or adults.

Fourth: A drug is the preferred treatment for the medical problem, but
instead of the safest, most effective—and often least expensive—treatment,
the physician prescribes one of the Do Not Use drugs listed on this web

site or another, much less preferable alternative. An example of a less
preferable alternative would be a drug to which the patient has a known allergy
that the physician did not ask about.

Fifth: Two drugs interact. Each on its own may be safe and effective, but
together they can cause serious injury or death.

Sixth: Two or more drugs in the same therapeutic category are used, the
additional one(s) not adding to the effectiveness of the first but clearly
increasing the risk to the patient. Sometimes the drugs come ina fixed
combination pill, sometimes as two different pills. Often heart drugs or mind-
affecting drugs are prescribed in this manner.

Seventh: The right drug Is prescribed, but the dose is dangerously high. This
problem is seen most often in older adults, who cannot metabolize or excrete
drugs as rapidly as younger people. This problem is also seen in smal! people who
are usually prescribed the same dose as that prescribed to people weighing two to
three times as much as they do. Thus, per pound, they are getting two to three
times as much medicine as the larger person.

Evidence of Misprescribing and Overprescribing

Here are some examples from recent studies by a growing number of medical
researchers documenting misprescribing and overprescribing of specific types of
drugs: .

Treating Adverse Drug Reactions with More Drugs

Researchers at the University of Toronto and at Harvard have clearly documented
and articulated what they call the prescribing cascade. It begins when an adverse
drug reaction is misinterpreted as a new medical condition. Another drug is then
prescribed, and the patient is placed at risk of developing additional adverse

effects relating to this potentially unnecessary treatment.” To prevent this
prescribing cascade, doctors—and patients—should follow what we call Rule 7 of
the Ten Rules for Safer Drug Use (see Protecting Yourself and Your Family from
Preventable Drug-induced Injury): Assume that any new symptom you develop

after starting a new drug might be caused by the drug. If you have a new

symptom, report it to your doctor.

Some of the instances of the prescribing cascade that these and other researchers
have documented include:

« The increased use of anti-Parkinson’s drugs to treat drug-induced parkinsonism
caused by the heartburn drug metoclopramide” (REGLAN) or by some of the older
antipsychotic drugs.

* A sharply increased use of laxatives in people with decreased bowel activity that
has been caused by antihistamines such as diphenhydramine (BENADRYL),
antidepressants such as amitriptyline (ELAVIL)—a Do Not Use drug—or some

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antipsychotic drugs such as thioridazine (MELLARIL).8

* An increased use of antihypertensive drugs in people with high blood pressure
that was caused or increased by very high doses of nonsteroidal anti-inflammatory
drugs (NSAIDs), used as painkillers or for arthritis.9

Failing to Treat Certain Problems with Nondrug Treatments

Research has shown that many doctors are too quick to pull the prescription
trigger. In one study, in which doctors and nurse Practitioners were presented with
Part of a clinical scenario—as would occur when first seeing a patient with a
medical problem—and then encouraged to ask to find out more about the source of
the problem, 65% of doctors recommended that a patient complaining of insomnia
be treated with sleeping pills even though, had they asked more questions about
the patient, they would have found that the patient was not exercising, was
drinking coffee in the evening, and, although awakening at 4 a.m., was actually
getting seven hours of sleep by then.!

In a similar study, doctors were presented with a patient who complained of
abdominal pain and whose endoscopy showed diffuse irritation in the stomach.
Sixty-five percent of the doctors recommended treating the problem with a drug—
a histamine antagonist (such as Zantac, Pepcid, or Tagamet). Had they asked
more questions they would have discovered that the patient was using aspirin,
drinking a lot of coffee, smoking cigarettes, and was under considerable emotional
stress—all potential contributing factors to abdominal pain and stomach irritation.

In summarizing the origin of this overprescribing problem, the authors stated:
“Apparently quite early in the formulation of the problem, the conceptual focus [of
the doctor] appears to shift from broader questions like ‘What is wrong with this
patient?‘or ‘What can I do to help?‘ to the much narrower concern, ‘Which
prescription shall I write?” They argued that this approach was supported by the
“barrage” of promotional materials that only address drug treatment, not the more
sensible lifestyle changes to prevent the problem.

In both of the above scenarios, nurse practitioners were much more likely than
doctors to take an adequate history that elicited the causes of the problems and,
not surprisingly, were only one-third as likely as the doctors to decide on a
prescription as the remedy instead of suggesting changes in the patient’s habits.

Throughout this web site, in the discussions about insomnia, high blood pressure,
situational depression, mild adult-onset diabetes, and other problems, you will find
out about the proven-effective nondrug remedies that should first be pursued
before yielding to the riskier pharmaceutical solutions.

Treating Viral Infections with Antibiotics or Treating Other Diseases with Drugs
That Are Not Effective for Those Problems

Two recently published studies, based on nationwide data from office visits for
children and adults, have decisively documented the expensive and dangerous
massive overprescribing of antibiotics for conditions that, because of their viral
origin, do not respond to these drugs. Forty-four percent of children under i8
years old were given antibiotics for treatment of a cold and 75% for treatment of
bronchitis. Similarly, 51% of people 18 or older were treated with antibiotics for
colds and 66% for bronchitis. Despite the lack of evidence of any benefit for most
people from these treatments, more than 23 million prescriptions a year were
written for colds, bronchitis, and upper respiratory infections. This accounted for
approximately one-fifth of all prescriptions for antibiotics written for children or
adults. 13 An accompanying editorial warned of “increased costs from
unnecessary prescriptions, adverse drug reactions, and [subsequent] treatment
failures in patients with antibiotic-resistant infections” as the reasons to try to
reduce this epidemic of unnecessary antibiotic prescribing.14

Similar misprescribing of a drug useful and important for certain problems, but not
necessary or effective, and often dangerous, for other problems can be seen in
another recent study. In this case, 47% of the People admitted to a nursing home
who were taking digoxin, an important drug for treating an abnormal heart rhythm

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called atrial fibrillation or for treating severe congestive heart failure, did not have
either of these medical problems and were thereby being put at risk for life-

threatening digitalis toxicity without the possibility of any benefit.15

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A final example in this category involves the overuse of a certain of drugs, in this
case calcium channel blockers, which have not been established as effective for
treating people who have had a recent heart attack. The study shows that this
prescribing pattern actually did indirect damage to patients because their use was
replacing the use of beta-blockers, drugs shown to be very effective for reducing
the subsequent risk of death or hospitalization following a heart attack. Use of a
calcium channel blocker instead of a beta-blocker was associated with a doubled
risk of death, and beta-blocker recipients were hospitalized 22% less often than
nonrecipients.16

The Causes of Misprescribing and Overprescribing
The Drug Industry

The primary culprit in promoting the misprescribing and overprescribing of drugs
is the pharmaceutical industry, which now sells about $216 billion worth of drugs
in the United States atone.2 The industry uses loopholes in the law not requiring
proof of superiority over existing drugs for approval, and otherwise intimidates the
Food and Drug Administration (FDA) into approving record numbers of me-too
drugs (drugs that offer no significant benefit over drugs already on the market)
that often have dangerous adverse effects. In addition, the industry spends well in
excess of $21 billion a year to promote drugs?” using advertising and promotional
tricks that push at or through the envelope of being false and misleading. This
industry has been extremely successful in distorting, in a profitable but dangerous
way, the rational processes for approving and prescribing drugs. Two studies of
the accuracy of ads for prescription drugs widely circulated to doctors both
concluded that a substantial proportion of these ads contained information that was
false or misleading and violated FDA laws and regulations concerning
advertising. 28 19

The fastest-growing segment of drug advertising is directed not at doctors but at
patients. It has been estimated that from 1991 to 2002 DTC (direct-to-consumer)
advertising expenditures in the United States grew from about $60 million a year
to $3 billion a year,?” an increase of 50-fold in just eleven years, employing
misleading advertising campaigns similar to those used for doctors. A study by
Consumer Reports of 28 such ads found that “only half were judged to convey
important information on side effects in the main promotional text,” only 40%
were “honest about efficacy and fairly described the benefits and risks in the main
text,” and 39% of the ads were considered “more harmful than helpful” by at least
one reviewer.2° This campaign has been extremely successful. According to a drug
industry spokesman, “There's a strong correlation between the amount of money
pharmaceutical companies spend on DTC advertising and what drugs patients are
most often requesting from physicians.” The advertising “is definitely driving
patients to the doctor's office, and in many cases, leading patients to request the
drugs by name.”21 The problems with OTC advertising are best summed up in an
article written by a physician more than 15 years ago in the New England Journal
of Medicine, before the current binge had really begun: “If direct [to consumer]
advertising should prevail, the use of prescription medication would be warped by
misleading commercials and hucksterism. The choice of a patient's medication,
even of his or her physician, could then come to depend more on the
attractiveness of a full-page spread or prime-time commercial than on medical
merit...such advertising would serve only the ad-makers and the media, and might
well harm our patients.”22

The Food and Drug Administration (FDA)

Attempting to fend off FDA-weakening legislation even worse than that which was
signed Into law in 1997, the FDA has bent over backwards to approve more drugs,
culminating in 1996 and 1997 when the agency approved a larger number than had
ever been approved in any two-year period. Thousands of people were injured or
killed after taking one of three such recently approved drugs (which have
subsequently been recalled from the market). These drugs were the weight-loss

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drug dexfenfluramine (REDUX), the heart drug mibefradil (POSICOR), and the
painkiller bromfenac (DURACT). Other drugs that would not have gotten approved
in a more cautious era at the FDA have also been approved, but are likely either to
be banned or to be forced to carry severe warnings that will substantially reduce
their use. Many of these are included on this web site and listed as Do Not Use
drugs.

In the more than 30 years since the Public Citizen's Health Research Group started
monitoring the FDA and the drug industry, the current pro-industry attitude at the
FDA is as bad and dangerous as it has ever been. In addition to record numbers of
approvals of questionable drugs, FDA enforcement over advertising has all but
disappeared. From a peak number of 157 enforcement actions to stop illegal
prescription drug ads that understate risks and/or overstate benefits in 1998, the
number has decreased to only 24—an 85% decrease—in 2003.23 There is no
evidence that the accuracy or legality of these ads has increased during this
interval, and the amount of such advertising has clearly increased. The division at
FDA responsible for policing prescription drug advertising has never been given
adequate resources to keep up with the torrent of newly approved drugs. More
recently, however, it has also been thwarted by marching orders from higher up in
the agency to, effectively, go easy on prescription drug advertising. As a result,
the drug industry correctly believes it can get away with more violative advertising
than in the past. The role of the United States Congress in pushing the FDA into
approving more drugs, and passing, with the FDA's reluctant approval, legislation
to further weaken the FDA’s ability to protect the public, cannot be overlooked.

Physicians

The well-financed promotional campaigns by drug companies would not have as
much of an Impact as they do were there not such an educational vacuum about
proper prescribing of drugs, a serious problem that must be laid at the feet of
medical school and residency training. The varieties of overprescribing and
misprescribing of drugs by doctors—the seven all-too-often-deadly sins of
Prescribing referred to above—are all strongly enhanced by the mind-altering
properties of drug promotion. The best doctors, of whom there are many, do not
waste their time talking to drug sales people, toss promotional materials away,
and ignore drug ads in medical journals. Too many other doctors, however, are
heavily influenced by drug companies, accepting free meals, free drinks, and free
medical books in exchange for letting the drug companies “educate” them at
symposia in which the virtues of certain drugs are extolled. Unfortunately, many
of these doctors are too arrogant to realize that there is no such thing as a free
jJunch. The majority of doctors attending such functions have been found to
increase their prescriptions for the targeted drugs following attendance at the
“teach-in.”24

Beyond traditional advertising and promotion and their influence, bias of drug-
company-sponsored research, as published in medical journals, also can sway
doctors toward more favorable impressions about drugs. An analysis was done of
56 trials that were paid for by drug companies and reported in 52 medical journals
about drugs for arthritis and pain--NSAIDs. (These drug-company-sponsored
Studies represented 85% of those that the researchers originally looked at.) In
studies identifying the company’s drug as less toxic than another drug, in barely
one-half of the studies was there justification for the finding of less toxicity. This
certainly explains why, contrary to fact, newer arthritis drugs almost always
“seem” safer than older, usually much less expensive ones.2>

A final example demonstrates the ignorance of many physicians, especially in
dealing with prescribing drugs to older adults. A study of physicians who treat
Medicare patients found that 70% of the doctors who took an examination
concerning their knowledge of prescribing for older adults failed to pass the test.
The majority of physicians who were contacted for participation in the study
refused to take the test, often giving as their reason that they had a “lack of
interest in the subject.” The authors concluded “many of these physicians [who
failed the exam] had...not made good use of the best information on prescribing
for the elderly.”26

Pharmacists

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A small fraction of pharmacists have, in our view, betrayed their professional

ethics and are working for drug companies, engaging in such activities as calling 3
doctors to get them to switch patients from drugs made by a company other than

the one the pharmacist works for to the pharmacist’s employer’s drugs. In

addition, pharmacy organizations such as the American Pharmaceutical Association

and others have fought hard to prevent the FDA from requiring accurate patient

package information to be dispensed with each prescription filled.

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Too many pharmacists, despite having computers to aid them, have been willing to
fill prescriptions for pairs of drugs that, because of life-threatening adverse drug
interactions if used at the same time, should never be dispensed to the same
person.

» Sixteen (32%) of 50 pharmacies in Washington, D.C., filled prescriptions for
erythromycin and the now-banned terfenadine (SELDANE) without comment.27
These two drugs, if used in combination, can cause fatat heart arrhythmias.

e In another study, of 245 pharmacists in seven cities, about one-third of
pharmacists did not alert consumers to the potentially fatal and widely publicized
interaction between Hismanal, a commonly used but now banned antihistamine,
and Nizoral, an often-prescribed antifungal drug. Only 4 out of 17 pharmacists
warned of the interaction between oral contraceptives and Rimactane, an antibiotic
that could decrease the effectiveness of the oral contraceptive. Only 3 out of 61
pharmacists issued any verbal warnings about the interaction between Vasotec and
Dyazide—two drugs for treating hypertension—which may lead to dangerously high
levels of potassium in the blood. 8

« In yet another study, concurrent use of terfenadine (SELDANE) and
contraindicated drugs declined over time. The rate of same-day dispensing
declined by 84%, from an average of 2.5 per 100 persons receiving terfenadine in
1990 to 0.4 per 100 persons during the first six months of 1994, while the rate of
overlapping use declined by 57% (from 5.4 to 2.3 per 100 persons). Most cases
involved erythromycin. Despite substantial declines following reports of serious
drug-drug Interactions and changes in product labeling, concurrent use of
terfenadine and contraindicated antibiotics such as erythromycin and
clarithromycin (BIAXIN) and antifungals such as ketoconazole (NIZORAL) continued
to occur.

Patients

For too many patients, the system is stacked against you—drug companies,
doctors, and pharmacists are too often making decisions that ultimately derive
from what is best for the drug companies, doctors, and pharmacists, and not
necessarily from what is best for you. This web site has been researched and
written to help you come out ahead in the struggle with our health care industry.

In the sections on Adverse Drug Reactions and Drug-Induced Diseases, you can
jearn which common medical problems—depression, insomnia, sexual disorders,
parkinsonism, falls and hip fractures, constipation, and many others—can actually
be caused by drugs. Once you recognize these problems, you will be enabled to
better take care of yourself and your family, and bring such problems to an end by
discussing safer alternatives with your physician.

On this web site, we list the drugs we and our consultants think you should not
use. For each of these, we recommend safer aiternatives. Each drug profile lists
drug combinations that should not be used because of serious interactions.

In Protecting Yourself and Your Family from Preventable Drug-induced Injury, we
present a detailed strategy, beyond information on specific adverse effects and
drugs, to help you to use drugs more safely, including Ten Rules for Safer Drug
Use and how to use and maintain your own Drug Worksheet for Patient, Family,
Doctor, and Pharmacist. This is your personalized plan for avoiding becoming a
victim of overprescribing or misprescribing.

Finally, in Saving Money When Buying Prescription Drugs, we discuss the latest
information about generic drugs and show you how and why you can and should

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save hundreds of dollars a year or more. In short, this web site is intended to help
youand your family to improve your health by using drugs, if necessary, more
carefully and recognizing those you should avoid.

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IN THE CIRCUIT COURT, FIFTH
JUDICIAL CIRCUIT, IN AND FOR
LAKE COUNTY, FLORIDA
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CASE NO.: 2000-CF-002130 ,
STATE OF FLORIDA,
Plaintiff, .
vs. a 22 ORIGINAL
DONALD OTIS WILLIAMS, :
Defendant.
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HELD BEFORE: The Honorable Mark Nacke SZ02 Via
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DATE: November 4, 2013 boo " |S
TIME: 1:27 pom. - 2:06 p.m. wn
PLACE; Lake County Judicial Center

550 West Main Street
Tavares, Florida 32778

This cause came on to be heard at the time and place
aforesaid, when and where the following proceedings were
transcribed by:

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Tavares, Florida 32778
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case since 2000. I'm asking the Court if you won't rule
on it, post-conviction relief motion, if you'll at least
rule on the contents of it as defense to my violation of
probation.

THE COURT: What do you mean though, the document

or --=
MR. WILLIAMS: Well, there's case law --
THE COURT: -- are you going to present evidence? ‘I
don't -=--

MR. WILLIAMS: -- in heré and they go into the docket
numbers and they go into different areas in here. I can

tell you this, Your Honor, there's different things and

‘I'm not sure that the fundamental right and the

fundamental and the plain error doctrine don't intertwine
with what's happened inside some of these cases hére that
I have, some of them that rm not so sure is maybe a
procedural default that they certainly look into the
federal law as plain error and some of these are that
there was no PSI, when it should have, there was a
required PSI to help when you're a first felony offender,
you're required to have post-sentence investigation
report, and then you have to have a post-sentence
sentence hearing. You have to have a notice of a Public
Defender fees and have a hearing for that. There's all

these things that never took place with me. There was

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times where I, where I had clearly, we have fundamental
error when I dismissed my attorney but then there was no
hearing for that afterwards. And you can look, it's
straight on the face of the records, it's nothing that
tough to delve into, it's right there. And there's also
the point, Your Honor, another fundamental error there
where Dr. Olander had alerted my Public Defender that I
was on medication at that time but. he did not alert the
Court to that. He did not. He stayed silent on that.
He didn't tell the Court that 1 was on medication during
that hearing. !
THE COURT: Well, again, I mean, this is, this is
attacking the previous sentence and, you.know, everything
leading up to the plea and that's, again, been ~- that
issue or issues have been, as I understand it, you know,

litigated and that's not a defense to the violation here

and now --

MR, WILLIAMS: Yes, sir, I --

THE COURT: -- something that you're accusing
somebody of doing or not doing back in 2001.

MR. WILLIAMS: What I -- I think Mr. Gross is going

to say something. Pardon me, sir.

MR. GROSS: Go right ahead, Mr. Williams.

MR, WILLIAMS: I, the, the one thing which when we

had the Fifth District Court of Appeal, when they had

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1 struck the petition that I had put in there, then they

2 had, they struck it for untimely, and then I went back

3 and I showed them that it was timely, that it was well

4 within the 30-day limit, not even having to count the

5 mailbox rule or anything like this, and then they

6 _ withdrew or they withdrew that ruling and then ruled that
7 it was frivolous. All that, that had in that motion or

8 in that instrument there, on that case, which was

9 5D05-4254, was all fundamental error, and since I
(10 couldn't put that in there, I couldn't put it, couldn't
11 put it in the Circuit court, I couldn't put it in the

12 Fifth District Court of Appeal anymore, s0 I was stuck.
13 I mean, it's not, I don't think that we have, there's
14 case law in here, it says, you know, when you see an

15 | error that there should, there should be time £0 correct
16 it. And I think there's been several errors and they've
17 never been, they've never been addressed.

18 THE couRT: Well, I mean, I will let you file any

49 documents and will determine, you know, tomorrow at the

20 hearing what, if we wind up having the rest of the —_|_
21 hearing, what the -- whether or not, you know, they're
22 valid.

23 MR. WILLIAMS: I would just ask you, sir, and thank
24 you so much for that, I'd like to ask you just to
25 consider possibly waiving the order that has me from

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1 prohibiting that just on the fundamental error issue.
2 THE COURT: No, I'm not going to, I'm not going to go
3 there. I'm saying that the documents that you file, I'm
4 not going to, I'm not ruling on it right now, I'm not
5 saying it's valid, I'll let you file it so it's in the
6 ‘court file but I haven't ruled on, you know, whether or
7 not that you have any right to relief on it.
8 MR. WILLIAMS: Yes, Sir. Okay, sir.
9 “THE COURT: And I'm letting it be filed in this
10 violation of probation context, not that it reverts or it
11 goes back to the original sentence, but as it might or
12 might not apply to the violation of probation. That's
13 what's pending before us.
14 MR. WILLIAMS: I have a copy of a letter ‘I to
15 Mr. Maher on October the 10th, before -- or this was,
16 well, after I wrote Mr. Carranza about the issue.
17 MR. GROSS: While you're scrolling through the laptop
18] : in front of you, Judge, could I just interject something?
19 THE COURT: Yes.
20 MR. GROSS: I don't think we have received the latest
21 pleadings that Mr. Williams is talking about that he
22 wants to file, and it may be that he doesn't have an
23 extra copy for us. Is that the fact?
24 MR. WILLIAMS: No, sir, that's good, that's for
25 you.

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IN THE CIRCUIT COURT, FIFTH Te
JUDICIAL CIRCUIT, IN AND FOR
LAKE COUNTY, FLORIDA
CASE NO.: 2000-CF-002130
STATE OF FLORIDA,
Plaintif®, .
vs. EJ ORIGINAL
DONALD OTIS WILLIAMS, .
. Defendant.
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TRANSCRIPT ON APPEAL Ese n 5
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HELD BEFORE: The Honorable Mark Nacke (BES Dla
DATE: November 21, 2013 . 2°55 = S
TIME: 1:47 p.m. - 5:18 p.m. wn
PLACE: Lake County Judicial Center
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Tavares, Florida 32778
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aforesaid, when and where the following proceedings were
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1 PROCEEDINGS

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3 THE COURT: Case 2004-cF-2130. And; Mr. Williams, I
4 know that you've been representing yourself, I know you
5 understand you have a right to an attorney to represent

6 you. If you cannot afford to hire one, I can appoint the
7 attorneys who were previously appointed to represent you
8. or you can retain an attorney or represent yourself.

9 Which would you rather do?

10 MR. WILLIAMS: I'11 continue to represent myself, —

11 Your Honor, if it pleases the Court.
12 THE COURT: Yes, sir.

13 MR. WILLIAMS: I have some things I need to inform
14, the Court of. we had some witnesses that were scheduled
15 oo to be here and they are not here and they were not, some
16 of them were not able to make it here. One of them would
17 rather have contempt than come here, as it was relayed to
18 me. We have not been able to, in the two weeks that we
19 had from November the 5th to today, we have not been able
20} — ~+to secure a mental health expert. The, the witnesses _
21 that are here, that I see now, that I'm thankful that
22 they came, Nurse Oakley and Mr. Howard Lawrence, a mental
23 health specialist, and my former attorney, the chief
24 assistant public defender, Mark Jackson, and Detective
25 Steve Keller are here.

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I had the self-addressed stamped envelopes, I had

The other witnesses that I had where one was my
brother by phone, Ms. Harvey was to be here, to be by
phone, my son also, Lola Gonzalez was to be here present,
because I had documentation to show her, and a few other
witnesses, but they're not here, And I'm at the mercy of
the Court. I can, I can -- I don't have any excuses, a
have reasons, and I'd like to explain them to you.

Your Honor, I wasn't able to phone and keep in
contact with my investigator because I couldn't get to
the phone because the order stopped it November the 5th,
and so I couldn't get with him and to keep up to breast
with what was going on. The only way, the only time I
seen him was yesterday when he brought the subpoenas
over. t had no -- I have some, I have some things to --
if the Court would please look at these, if I'd had the
due process materials that we had, I'd been adjudicated
insolvent for due process cost, I could have kind of done
what I did before when we were having the murder trial,
Your Honor, because we had that less than two weeks, but

interrogatories, and I could maintain contact with my
witnesses and I had the phone to do that every day. I
just haven't had time, I just haven't had that available
to do that. I've asked for it, but it's been denied.

MR. GROSS: Judge, if Mr. Williams is asking for a

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1 continuance, that's what I'm kind of reading, we have
2 four witnesses waiting, at least let's get those four
3 witnesses done. They've been waiting here since 2:00
4 when the Defendant's investigator subpoenaed them, and
5 then obviously I'm going to be kicking and screaming |
6 about a continuance, but at least we've got the witnesses
7 in the can, as they say in Hollywood.
B THE COURT: Okay.
9 MR. GROSS: Thank you.
10 MR. WILLIAMS: I apologize.
11 THE coURT: ‘That's all right.
12 MR, WILLIAMS: That's totally correct.
13 THE COURT: All right. who would you like to call
14 first?
15 MR. WILLIAMS: I'm trying to get Mr. Mark Jackson out
16 here as quick as we can.
17 THE COURT: Yes, sir, come on, yeah.
18 MR. WILLIAMS: I believe he can -- right here would
19 be -+-
20; THE COURT: You think it's going to be short?
21 MR, WILLIAMS: It's very short.
22 | THE COURT: Okay. All right, sir, would you raise
23 your right hand?
24 Do you solemnly swear the testimony you're about to
25 give will be the truth, the whole truth, and nothing but
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the truth?
THE WITNESS: Yes, Sir, I do.
THE COURT: Okay. Mr. Williams, before you have
Mr. Jackson testify, I want to warn you that when he was _
representing you, you had an attorney-client relationship
and there's possibly many things that you discussed that
may be privileged and that would not normally be subject
to, you know, somebody requiring Mr. Jackson to testify
to what was said. However, by calling him as a witness
and asking him questions, you may get into areas where
you waive that attorney-client privilege as it may
pertain to whatever questions or subject that you're
questioning him about. Do you understand that?
MR. WILLIAMS: I understand, Your Honor.
THE COURT: Okay. Go ahead.
MARK JACKSON,
Havirig been first duly sworn, testified under oath

as follows:

DIRECT EXAMINATION

BY MR. WILLIAMS:

Q. Mr. Jackson, would you look at this and see the stamp
on that, is that stamped September of 2001 by the Public
Defender's Office?

A. Yes.

MR. WILLIAMS: Okay. I want you to -- if I could, if

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& 1 I could stand?
2 THE COURT: Yes, Sir.
3. BY MR. WILLIAMS:
4 QO. Isn't it true that we have, that is written in here
5 that I have been diagnosed as a bipolar manic depressive?
6 . MR. GROSS: Judge, I'm going object. This is
7 hearsay. I don't know who wrote this. I know, from
8 having talked to Mr. Jackson, that his representation of
9 the Defendant was in 2010, and TI was just told, as you
10 were, that this letter was written in 2001. f don't know
11 how this is relevant and it's clearly hearsay.
12 MR. WILLIAMS: Well, Your Honor, it's a document
t 13 that's stamped from the Public Defender's Office and ix
14 was a prior letter that supported the letter that I sent
15 Mr. Jackson when he represented me in 2010.
16 MR. GROSS: But the Defendant's violation, as you
17 recall, from September, when we started this hearing,
18 pertains to something that happened in October of 2010.
19 Mr. Jackson was not representing him at that time, nor
20 " was he representing him at the time that this document --~-
21 and I'm not exactly sure which one it is, this is the
22 letter of Mr. Higgins?
23| MR. WILLIAMS: No, this is --
24 MR. GROSS: I don't know what that is, but --
ee 25 MR. WILLIAMS: This is the letter --

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/~ 1 MR. GROSS: -- the point is regardless --
2 MR. WILLIAMS : This is the letter -~
3 MR, CROSS: -- it's irrelevant to the Defendant's --
4 THE COURT: Objection sustained, finding it's
5 irrelevant,
6 MR. WILLIAMS: I have a letter that I wrote
7 _ Mr. Jackson that I'd like to submit when he was
8 representing me.
9 MR. GROSS: I don't know how that would be
10 relevant.
11 MR. WILLIAMS: Your Honor -~
12 MR. GROSS: If Mr. Williams can share with us how
&, 13 this would be relevant, he represented him from April
147]. until June of 2010, then the Defendant. went back out in
15 the community and ended up killing this lady in October
16 of 2010. Mr. Williams' letter, I believe, was dated
17 during the time frame while he was sitting in jail from
18 April until June of 2010. Maybe there's something
19 relevant in there, but I'm mystified.
20 “7. MR. WILLIAMS: Your Honor, this is, I mean, we're
21 going back just to 15 or 20 minutes ago, we go back with
22 the, with Mr. Gross going back to 2001 when I was doing
23 time in prison, he's went up through the years, he's got
. 24 his psychologist that went back into my, into the '70s,
25 I'm going back with a letter that was written on April

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the 21st, 2010, six months prior to my arrest on. the
charges of -- that I didn't commit -- the 2011 case.

MR. GROSS: I'm not saying that it's inadmissible.
I'm just asking what possible relevance is there?

MR. WILLIAMS: Well, you've seen it.

MR. GROSS: I don't know what's in it though.

THE COURT: What is relevant in that letter about
‘this violation of probation?

MR. WILLIAMS: Well, your Honor, it has =- the, the.
whole purpose of this défense as. a defense of / ansanity.
‘through | that time, insanity defense, I have | a sleep
disorder. It? s been, it's ‘been put down for year after
year after year. that I' ve been hallucinating! from sleep
depravation. L have been: diagnosed by no less than ‘eight
psychiatrists. And T am telling Mr. ‘Jackson: of this, of
this disease in here, and so it's something that' $ just
not popped up that I'm just making up over here, because
it's six months before that I was arrested, so it's not
six years ago or 12 years ago, it's six months.

THE COURT: All right.- Objection's overruled. It
will come in.
BY MR, WILLIAMS:
Q. Mr. Jackson if you would, please, sir, would you look
through this and we'll just do this quickly, if you'll look

through this and see if it's the same letter that I wrote you

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back in April of 2010, sir?

‘A. Is there any kind of time stamp or anything on this
or was there envelope from this?

Q. Prokably on the envelope.

A. Do you have the envelope?

Q. No. No,

A. So what's your question?

Q. Do you recognize this letter? If this will jog your
memory, I have a Public Defender's interview.

A. Well, that doesn't jog my memory. I can tell the
Court, or if you're asking this, I. did represent you and I
know that you wrote me letters. That's -- I mean, I don't
specifically remember this. letter from 2010.

MR. WILLIAMS: Well, we had this introduced into the

2011 case, Your Honor, and it was indicated as J-25,

defense evidence description at trial 2-Vv.

THE COURT: I'll take judicial notice of the record
in the 2011 case.
BY MR. WILLIAMS:

Q. All right. And do you recognize this as being one
from your office?

A. This looks like one of our forms that we used back
then. We don't use them anymore, but that does look like the

form that we used.

Q. And does it say severe bipolar manic depressive?

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‘1 A. It does.

2 QO. And on the other side does it say sleep disorder and
3 seizures?

4 A. It says that, yes.

5 Q. And this is dated -- well the arrest date is 4/1.

6 It's dated, it's dated 4/20/2010?

7 A. ‘That's what it says.

8 - MR, WILLIAMS: that's all, Your Honor.

9 THE COURT: Any cross?

10 MR. GROSS: Yes, sir. First of all, I'd like to see
11 the document.

12 CROSS~EXAMINATION

13 BY MR. GROSS:

14 Q. Mr. Jackson, you represented the Defendant in the

15 spring of 2010 on a violation of probation in this case,

16 right?

17 ' A, Correct.

18 Q. And ultimately the case was settled in early June and
19 the Defendant was reinstated to probation in June of 2010; is
20 that right?
21 A. It sounds right. / - -
22 - Q. Okay. You had no more contact with the Defendant or
23 this case until you got a subpoena to come here and testify;
24| is that right?

25 A. Other than letters that he sent during his homicide

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case,

QO. All right. Did you ever conclude that he appeared to
be insane in the time that you were dealing with him in April
through June of 2010?

A. I, I didn't come to any conclusions as to his
Sanity.

Q. This document that may say severe bipolar, manic
depressed, depression, it's titled at the top G-5, which I
believe is a discovery, you know, number, and then the second
page is G-6, confidential initial interview form Public |
Defender's Office, right?

A. Yes, sir.

Q. This is not any kind of a diagnosis from a doctor?

A. No, sir.

Q. And you don't know what the Defendant's mental status
was or was not on June the 18th through June -- excuse me,
October the 18th through October the 23rd, 2010, right?

A. To my recollection, we didn't have him
evaluated (inaudible).

Q. Right. I'm talking about during the time when oe
Ms. Patrick and he were being sought?

A. Wo, I don't know anything about it.

MR. GROSS: Absolutely no idea. Thank you. Nothing

else.

MR. WILLIAMS: I have a brief question.

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1 THE COURT: Yes, sir.

2 MR. GROSS: Do you need these documents?

3 MR. WILLIAMS: No, sir.

4 REDIRECT EXAMINATION

5 BY MR, WILLIAMS:

6 Q. Mr. Jackson, when you represented me on the

7 misdemeanor charge and then on the violation of probation

8 charge, you familiarized yourself with my past and being

9 represented by the Public Defender, correct?

10 A. I familiarized myself by speaking with you about --
il Q. Did you go into my file before and look through

12 there?

13 A. I dontt recall if I did or not.

14 Q. Do you recognize a name of a psychiatrist named

15 Dr. Jacquelyn Olander?

16 A. No.

17 MR. WILLIAMS: I have no questions, Your Honor.

18 MR. GROSS: Nothing else on that point.

19 THE COURT: All right. Thank you. Mr. Williams, did

20 you want these documents into evidence?
21 MR. WILLIAMS: Please, sir.
22 THE COURT: All right. It will be a Composite

23 Exhibit Defense 4.
24 (Defendant's Exhibit 4 was admitted into evidence.)
25 UNIDENTIFIED SPEAKER: Can I approach off the record

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